                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

DENNIS RICCI, et al.,                            )
                                                 )
     Plaintiffs,                                 )
                                                 )
v.                                               )        NO. 3:18-cv-00771
                                                 )
HIDEOUT PICTURES, LLC, et al.,                   )        JUDGE CAMPBELL
                                                 )        MAGISTRATE JUDGE HOLMES
     Defendants.                                 )


                                            ORDER

        Pending before the Court is Defendants’ Motion to Dismiss (Doc. No. 22) Plaintiffs’

Complaint (Doc. No. 1). Through an Order (Doc. No. 56) issued on July 18, 2019, the Magistrate

Judge determined that Plaintiffs’ Amended Complaint (Doc. No. 36) is the legally operative

complaint in this case. Accordingly, Defendants’ Motion to Dismiss (Doc. No. 22) is DENIED,

as moot.

        Also pending are Defendants’ Requests for Judicial Notice (Doc. Nos. 24, 41), to which

Plaintiffs have not responded. Plaintiffs shall file any response to the Requests on or before July

26, 2019.

        It is so ORDERED.


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                                                     WILLIAM L. CAMPBELL, JR.
                                                     UNITED STATES DISTRICT JUDGE




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